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*NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

____________________________________
UNITED STATES OF AMERICA,            :
                                     :
                                     :
            Plaintiff,               :                     Criminal No.: 10-219 (FLW)
                                     :
v.                                   :                              OPINION
                                     :
EUDINA MARTINEZ,                     :
                                     :
            Defendant.               :
____________________________________:

WOLFSON, District Judge:

        Before the Court is Defendant Eudina Martinez’s (“Defendant”) motion for a judgment of

acquittal pursuant to Federal Rule of Criminal Procedure 29(a). Defendant was charged in a four-

count Indictment (the “Indictment”), which charged Defendant with knowingly and intentionally

conspiring and agreeing with others to distribute, and possess with intent to distribute, cocaine, crack

cocaine, heroin, and marijuana, in violation of 21 U.S.C. § 846. After a jury trial, Defendant was

convicted of all four counts. During the trial, Defendant moved for a judgment of acquittal at the

close of the Government’s case, and renewed her motion at the close of all the evidence. In her

motion, Defendant argues that there was insufficient evidence to support a conviction as to any of

the counts and that a judgment of acquittal should be entered as to each of these counts.1 Pursuant

to Fed. R. Crim. P. 29(b), the Court reserved its ruling. In this Opinion, the Court renders its




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         The Court notes that Defendant did not move pursuant to Fed. R. Crim. P. 29(c) as she
did not file any post-trial motions.
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decision with respect to Defendant’s motion, and for the reasons stated below, Defendant’s motion

is DENIED.

                                        BACKGROUND

       Commenced on July 12, 2010, over the course of five days, the Government presented a

number of witnesses and introduced documentary evidence which it contends demonstrate that

Defendant knowingly and intentionally conspired with other co-defendants to distribute illegal

controlled substances in violation of 21 U.S.C. § 846. A brief recitation of the Government’s case

follows. During the trial, the Government alleged that Defendant and her husband, Roberto

Carmenate Osorio (“Osorio”), a.k.a. Nene, and Bernabe Osuna, who at one point in time resided with

Defendant and her husband in the same apartment, were involved in an illegal drug operation

wherein Defendant aided in the drug enterprise.2 Specifically, on December 2, 2009, Defendant,

her husband and another drug supplier participated in the sale of two kilograms of cocaine outside

of a laundromat in North Bergen, New Jersey. In addition, the Government alleged that Defendant

was involved in the sale of other drugs, namely, crack cocaine, heroin and marijuana.

       The Government presented the testimony of its key witness, Nestor Gibbs, a confidential

informant, who, at the direction of the Drug Enforcement Administration (“DEA”), purchased illegal

drugs from Osorio. With respect to Defendant’s involvement in the conspiracy, Gibbs testified that

Defendant was present at the laundromat on December 2, 2009. See Trial Tr. v2, pp. 186, 191. He

further testified that Defendant was present at the time Osorio loaded the drugs inside a laundry

basket into Gibbs’ car; however, Defendant did not physically assist Osorio. Id. at p. 187. Pursuant



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       Defendant, Osorio and Osuna were charged with conspiracy in the same Indictment.
Both Osorio and Osuan pled guilty and Defendant proceeded to trial alone.

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 to Fed. R. Evid. 404(b), Gibbs also testified that Defendant was present with Osorio at various other

drug transactions, which were unrelated to the Indictment. Id. at pp. 125-128. Gibbs’ testimony was

corroborated by, inter alia, Detective Eduardo Davila, a Newark investigator assigned to Defendant’s

criminal case, and Christopher Reddington and Margarita Abbattiscianni,. Special Agents of the

Drug Enforcement Administration (“DEA”). In addition, as will be delineated later in this Opinion,

the Government presented evidence, albeit circumstantial, to show Defendant’s involvement in the

conspiracy – namely that Defendant conducted financial affairs for the illegal enterprise, provided

cover for the conspiracy and attempted to hide or destroy illegal drugs and other evidence of the

crime.

          After the close of the Government’s case, defense counsel moved for a judgment of

acquittal. Counsel argued that the evidence and the testimony presented by the Government are

limited and tenuous because the Government was only able to show that Defendant was simply

present at the drug transaction in question, and that she did not participate or have knowledge of the

illegal transaction. In fact, counsel argued that Defendant had no knowledge of any drugs present

at her residence or elsewhere. See Trial Tr. v5, pp. 125-26. In that regard, counsel contended that

when weighing all the Government’s evidence, “there is nothing that links [Defendant] to the crack

cocaine, nothing to the heroin, nothing to the cocaine that was seized in the house.” Id. at p. 126.

 The Court reserved its ruling under Rule 29(b). See Fed. R. Civ. P. 29 (b)(“The court may reserve

decision on the motion, proceed with the trial (where the motion is made before the close of all the

evidence), submit the case to the jury, and decide the motion either before the jury returns a verdict

or after it returns a verdict of guilty or is discharged without having returned a verdict).

         Next, the defense presented its case by offering testimony from two individuals, Antonio


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Chelala and Arsenio Erasmo Gomez. As more details regarding their testimony will be provided

later in this Opinion, the Court will not relay them here. After the close of all the evidence,

Defendant renewed her motion for a judgment of acquittal. The Court reserved its ruling again to

allow the jury to deliberate. After a few hours of deliberation, the jury found Defendant guilty of all

counts, and now the Court will decide Defendant’s Rule 29 motion.3

                                           DISCUSSION

I.      Standard of Review

        Federal Rule of Criminal Procedure 29 provides that the district court, upon the motion of

a defendant or upon its own motion, shall enter a judgment of acquittal if "the evidence is

insufficient to sustain a conviction." Fed. R. Crim.P. 29(a). In ruling on a Rule 29 motion, the

district court must determine whether any rational trier of fact could have found proof of the

defendant's guilt beyond a reasonable doubt based upon the available evidence presented at trial.

United States v. Smith, 294 F.3d 473, 478 (3d Cir. 2002), (citing Jackson v. Virginia, 443 U.S. 307,

319 (1979)). In that connection, the Third Circuit has cautioned strongly that the district court "be

ever vigilant in the context of…[a Rule 29 motion] not to usurp the role of the jury by weighing

credibility and assigning weight to the evidence, or by substituting its judgment for that of the jury."

United States v. Flores, 454 F.3d 149, 154 (3d Cir. 2006).

        The Court must view the evidence in its entirety, and in the light most favorable to the

Government. United States v. Hoffecker, 530 F.3d 137, 146 (3d Cir. 2008). The Government is also

entitled to “the benefit of inferences that may be drawn from the evidence[,] and the evidence may



        3
        Aside from oral arguments made by counsel, neither party submitted briefing in
connection with the motion.

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be considered probative even if it is circumstantial.” United States v. Patrick, 985 F. Supp. 543, 548

(E.D.Pa. 1997) (citing United States v. Pecora, 798 F.2d 614, 618 (3d Cir. 1986)); see also United

States v. Griffith, 17 F.3d 865, 872 (3d Cir. 1994). Hence, the movant bears a heavy burden

establishing that the evidence presented by the Government during trial was insufficient to support

a conviction. See United States v. Gonzalez, 918 F.2d 1129, 1132 (3d Cir. 1990); United States v.

Young, 334 Fed. Appx. 477, 480 (3d Cir. 2009) (the movant “bears a heavy burden in light of our

‘particularly deferential’ standard of review in cases challenging the sufficiency of the evidence”

(citations omitted)).

       In fact, the Third Circuit has cautioned that acquittal should “be confined to cases where the

prosecution failure is clear.” Smith, 294 F.3d at 477; United States v. Leon, 739 F.2d 885, 891 (3d

Cir. 1984) (quoting Burks v. United States, 437 U.S. 1, 17 (1978)). "The evidence need not

unequivocally point to the defendant's guilt as long as it permits the jury to find the defendant guilty

beyond a reasonable doubt.” United States v. Pungitore, 910 F.2d 1084, 1129 (3d Cir. 1990). “[T]he

question is whether reasonable minds [would find] guilt beyond a reasonable doubt, not whether

reasonable minds must [find] guilt beyond a reasonable doubt.” United States v. Ellisor, 522 F.3d

1255, 1271 (11th Cir. 2008). The jury is free to draw between reasonable interpretations of the

evidence presented at trial. United States v. Browne, 505 F.3d 1229, 1253 (11th Cir. 2007).

Accordingly, an acquittal should only be reserved in instances where “no reasonable juror could

accept the evidence as sufficient to support the conclusion of the defendant's guilt beyond a

reasonable doubt.” United States v. Salmon, 944 F.2d 1106, 1113 (3d Cir. 1991); United States v.

Coleman, 811 F.2d 804, 807 (3d Cir. 1987).




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        Because the Court reserved its decision on Defendant’s Rule 29 motion, “it must decide the

motion on the basis of the evidence at the time the ruling was reserved.” Fed. R. Civ. P. 29(b).

Therefore, the Court will first assess evidence presented in the Government’s case, and then assess

all the evidence at the close of Defendant’s case.

II.     Conspiracy

        A.      Government’s Case

        Since all counts of the Indictment are based upon violations of 21 U.S.C. § 846, the Court

focuses on essential elements of conspiracy, which are the following: “(1) a shared ‘unity of

purpose,’ (2) an intent to achieve a common goal, and (3) an agreement to work together toward the

goal.” United States v. Mastrangelo, 172 F.3d 288, 292 (3d Cir. 1999); United States v. Bobb, 471

F.3d 491, 494 (3d Cir. 2006). “The elements of conspiracy . . . can be proven entirely by

circumstantial evidence.” See United States v. Brodie, 403 F.3d 123, 134 (3d Cir. 2005); Young,

334 Fed. Appx. at 481. Indeed, “[a] jury may infer guilt from the surrounding circumstances and

presume that a defendant acting in furtherance of a conspiracy is a knowing participant therein. An

agreement may be inferred from circumstantial evidence that indicates concerted action.” United

States v. Delgado-Uribe, 363 F.3d 1077, 1083 (10th Cir. 2004); United States v. Gibbs, 190 F.3d

188, 197 (3d Cir. 1999)( “[t]he existence of a conspiracy ‘can be inferred from evidence of related

facts and circumstances from which it appears as a reasonable and logical inference, that the

activities of the participants . . . could not have been carried on except as the result of a preconceived

scheme or common understanding.’” (quoting Kapp, 781 F.2d at 1010 (internal quotation omitted)).

The inference of an agreement must be more than mere speculation and conjecture. See United States

v. Jones, 44 F.3d 860, 865 (10th Cir. 1995). Moreover, “[t]he government need not prove that each


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defendant knew all of the conspiracy's details, goals, or other participants.” Gibbs, 190 F.3d at 198

(citing United States v. Theodoropoulos, 866 F.2d 587, 593 (3d Cir. 1989), overruled on other

grounds by United States v. Price, 13 F.3d 711, 727 (3d Cir. 1994)). However, the government must

proffer sufficient evidence from which a jury could have concluded that drug transaction in which

the defendant was involved was “a step in achieving the conspiracy's common goal of distributing

[illegal drugs] for profit.” Theodoropoulos, 866 F.2d at 593.

       Here, viewed in the light most favorable to the Government, the circumstantial evidence

presented by the Government was sufficient for a reasonable jury to infer that Defendant, along with

her husband, Osorio and others, had a unity of purpose, intended to achieve a common goal of

distributing illegal drugs, and agreed to work together toward that goal. Contrary to Defendant’s

argument, although no government witness testified about an express agreement between Defendant

and the other co-conspirators, the Government presented ample evidence to allow the jury to infer

reasonably that such an agreement existed and that Defendant carried out certain acts that were in

furtherance of the conspiracy beyond her mere presence at the drug transactions. First, Gibbs, the

Government informant, testified that Defendant was present at various drug transactions, including

the drug transaction that was the subject of the Indictment - albeit, she did not actively participate

in the physical exchange of the drugs. Specifically, Gibbs testified that prior to the December 2,

2009 drug transaction, he observed on several occasions Defendant and Osorio went to Mama

Antoline’s4 house wherein drugs were off-loaded inside a garage from a compartment of their car.

See Trial Tr. v2, pp. 125 - 129. The jury was instructed to weigh this evidence only in connection


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        Mama Antoline is the mother of Gibbs former drug partner, Antoline. See Trial Tr. v2,
pp. 120-121. Gibbs testified that drugs used in transactions were sometimes received in Mama
Antoline’s garage, which was located in Newark, New Jersey. Id.

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with Defendant’s intent and knowledge pursuant to Rule 404(b). Gibbs further testified that

Defendant was also present outside the laundromat in question where drugs were transferred to

Gibbs’ vehicle. Importantly, the drugs were concealed inside a laundry basket underneath a pink

blanket owned by Defendant, see Id. at pp. 188, and Defendant asked for the basket and the pink

blanket to be returned after the drug transaction took place. See Trial Tr.v3, pp. 13-14, 72-73.

Indeed, they jury was entitled to weigh Gibbs’ testimony, a function which the Court cannot do on

a Rule 29 motion.

        The Court recognizes that although mere presence is insufficient to support a conviction for

conspiracy, as Defendant vehemently points out, the jury was certainly permitted to consider

Defendant’s presence as a probative factor in determining whether she knowingly and intentionally

participated in a criminal scheme. See United States v. Hernandez, 433 F.3d 1328, 1333 (11th Cir.

2005). “[T]he question is whether there is enough evidence to tie [Defendant] to the criminal

activities . . . . [O]nce a conspiracy is established[,] only a slight connection to the conspiracy is

necessary to support a conviction . . . . The term ‘slight connection’ means that [Defendant] need not

have known all the conspirators, participated in the conspiracy from its beginning, participated in

all its enterprises, or known all its details.” United States v. Reed, 575 F.3d 900, 924 (9th Cir. 2009)

(quoting United States v. Herrera-Gonzalez, 263 F.3d 1092, 1095 (9th Cir. 2001)). On that point, for

instance, the Second Circuit has explained:

          [Defendant] [] contends that the evidence merely showed that he was present
          at the scene of a crime, rather than actually involved in criminal activity.
          Although we have “repeatedly emphasized” that a defendant's “mere presence”
          at a crime scene or “association with conspirators” does not establish
          “intentional participation in the conspiracy, even if the defendant has
          knowledge of the conspiracy,” United States v. Samaria, 239 F.3d 228, 235 (2d
          Cir. 2001), overruled on other grounds by United States v. Huezo, 546 F.3d


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          174, 180 n.2 (2d Cir. 2008), a defendant’s knowing and willing participation
          in a conspiracy nevertheless may be inferred from his “presence at critical
          stages of the conspiracy that could not be explained by happenstance,” or by a
          "lack of surprise when discussing the conspiracy with others.” [United States
          v. Aleskerova, 300 F.3d 286, 293 (2d Cir. 2002).] It may also be established
          by “evidence that the defendant participated in conversations directly related
          to the substance of the conspiracy[,] possessed items important to the
          conspiracy,” id., or engaged in acts “exhibit[ing] a consciousness of guilt.”
          United States v. Gordon, 987 F.2d 902, 907 (2d Cir. 1993). Here, the evidence
          showed that [defendant’s] presence at critical stages of the conspiracy could not
          be explained by happenstance . . . .

United States v. Blackwood, 366 Fed. Appx. 207, 210 (2d Cir. 2010). Accordingly, coupled with

other evidence, the Court finds that Defendant’s presence at the drug transaction is the type of

evidence the jury was entitled to consider.

        Next, the Government introduced evidence of Defendant’s purported financial involvement

in the conspiracy. The Government offered the testimony of Defendant’s landlord Sylvia Gutierrez.

Gutierrez testified that Defendant, Osorio and two other men, including co-conspirator Osuna, rented

a three-bedroom apartment located in the basement of Gutierrez’s residence in North Bergen, New

Jersey. See Trial Tr. v3, pp. 134-36. Importantly, Gutierrez testified that Defendant paid all the rent,

including the rent for the two Mexican roommates, see Id., who, according to the Government

witnesses, were allegedly involved in illegal drug schemes with Defendant and Osorio. Gutierrez

further testified that she learned from Defendant that two locks were changed inside the apartment.

See Id. at pp. 141-42.

        The conspiracy period alleged in the Indictment spanned from May 2009 to March 2010. In

addition to introducing evidence of the conspiracy prior to Defendant’s arrest, the Government

introduced telephone conversations between Defendant and her sister that were taped when

Defendant was incarcerated. See Trial Tr. v5, pp. 32-37. In one conversation, Defendant urged her


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 sister to collect the proceeds of the December 2, 2009 drug sale from Gibbs in order for her to pay

 attorney’s fees to defend this criminal case. The following is an excerpt from the trial transcript:

        [Sister:] Tell [Osorio] that he has to be – that he has to be firm with [Gibbs], with that
        man he has to be firm. Always tell him the same thing. Tell him this is to bring me the
        money that was owed. Bring me that money.

        [Defendant:] Yes, but if –

        [Sister:] He’s a –

        [Defendant:] He tells him but he doesn’t do it. He doesn’t. Then he thinks that he was
        the one that, that all the problems. Understand.

        [Sister:] Uh-huh. Yes.

        [Defendant:] So then I don’t – I don’t know, he doesn’t, then he says he’s going to and
        he doesn’t deposit anything. He’s a – I don’t know despicable.

 Id. at pp. 36-37. Accordingly, the jury may consider this type of participation – collecting of drug

 proceeds – as Defendant’s involvement in the conspiracy. See United States v. Lehr, 562 F. Supp.

 366, 369 (E.D. Pa. 1983); see also United States v. Boone, 279 F.3d 163, 192 (3d Cir. 2002).

        Moreover, the Government presented evidence to show that Defendant acted as a “cover” for

 the co-conspirators. In that respect, the Government introduced evidence that Defendant may have

 concealed drugs in her residence, wherein the co-conspirators also allegedly resided. See Trial Tr.

 v. 4, pp. 30-31, 33-35. Detective Davila testified that he and other officers obtained a search warrant

 for Defendant’s residence. Id. at p. 30. When Detective Davila announced his presence and

 requested Defendant to open the door of her residence, Defendant suspiciously took approximately

 four to five minutes to open the door. Id. at p. 33. In the course of the search, Detective Davila

 testified that in an unlocked bedroom they found a kid’s backpack containing a bundle of U.S.

 currency wrapped-up in clear cellophane. Id. at p. 37. The officers found more wrapped U.S.


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 currency in a second locked room, along with, among other items, 7.5 kilograms of marijuana in a

 duffle bag, 760 grams of marijuana in a black plastic bag and cocaine. Id. at pp. 42-43, 45, 49. The

 jury may reasonably infer from this evidence that Defendant had knowledge of the drugs in her

 residence and that Defendant may have taken time to conceal or destroy evidence when the officers

 requested entry to Defendant’s apartment.

        In sum, the Court finds that there was clearly sufficient evidence for a reasonable jury to find

 that Defendant was not merely present at the drug transactions, but rather, Defendant knew that drugs

 were being sold, and that she had an agreement with other co-conspirators to achieve the objectives

 of the conspiracy by performing different roles as she participated in the conspiracy. Certainly, the

 jury was entitled to weigh the evidence and credibility of the witnesses and draw a conclusion as to

 Defendant’s role in the conspiracy. See, e.g., United States v. Gordon, 341 Fed. Appx. 588, 591 (11th

 Cir. 2009)(“[a] rational trier of fact could conclude there was a conspiracy to possess and distribute

 cocaine, as a search of the hotel room in which . . . [the defendants] were staying revealed cocaine,

 bundles of cash . . . and drug paraphernalia. Considering [defendant’s] inhabitation of the hotel

 room, and also his past involvement in drug offenses, a rational trier of fact could conclude

 [defendant] knew of the conspiracy's objective and knowingly participated in it”); United States v.

 Beckman, 222 F.3d 512, 518 (8th Cir. 2000)(“[d]uring the course of the conspiracy, [defendant’s]

 ex-wife . . . assisted with the drug operation by traveling with [defendant], keeping records,

 distributing drugs, and collecting money, all at [defendant’s] direction”).

        B.      Defendant’s Case

        Defendant introduced brief testimony from two witnesses in support of her case. The first

 witness, Antonio Besil, Defendant’s brother-in-law, testified that Defendant and her husband came


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 from Florida to New Jersey on several occasions to visit family. See Trial Tr. v5, pp.140-143.

 However, Besil’s testimony offered little in substance as Besil had no knowledge of any of the

 alleged illegal activities conducted by either Defendant or her husband. Id. at pp. 148-166. The

 second witness, Arsenio Erasmo Gomez, Osorio’s friend, testified that he loaned Osorio the green

 Cadillac, which Osorio used to deliver drugs on December 2, 2009, to the laundromat. See Id. at pp.

 187-89. It appears Gomez’s testimony was offered to rebut Government’s contention at trial that

 Defendant knew that the Cadillac was used solely for the transportation of drugs since the car did

 not belong to Defendant nor her husband. Neither witnesses’ testimony contradicted or refuted any

 of the Government positions as to Defendant’s role in the conspiracy. Rather, the testimony was

 offered to negate the Government’s evidence that Defendant knew drugs were being sold when she

 was present at the laundromat and her general knowledge that drug transactions were being

 conducted by her husband. In that respect, the jury was free to assess whether Defendant had the

 requisite knowledge in order to further the conspiracy. Accordingly, Defendant’s case did not

 sustain the high burden of showing that the Government’s evidence was insufficient for a jury to find

 beyond a reasonable doubt that Defendant was a part of the drug conspiracy.

        Defendant’s Rule 29 motion is denied.



 DATED: September 9, 2010                                             /s/ Freda L. Wolfson
                                                                      The Hon. Freda L. Wolfson
                                                                      United States District Judge




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